Case 08-13141-BLS Doc 6558-8 Filed 11/22/10 Page 1of2

CERTIFICATE OF SERVICE

I, Amanda M. Winfree, hereby certify that, on November 22, 2010, I caused one copy of

the foregoing to be served upon the parties on the attached service list via First Class U.S. Mail, or

in the manner so indicated.

wuouly-e2

Amanda M. Winfree (#4615)

{00313576;v1}
Case 08-13141-BLS Doc 6558-8

VIA FIRST CLASS U.S. MAIL
SIDLEY AUSTIN LLP
ATTN: KENNETH P. KANSA ESQ.
ONE SOUTH DEARBORN
CHICAGO, IL 60603

VIA HAND DELIVERY
LANDIS RATH & COBB LLP
ATTN ADAM G LANDIS & MATTHEW B MCGUIRE
919 MARKET STREET SUITE 1800
WILMINGTON, DE 19801

VIA HAND DELIVERY
OFFICE OF THE UNITED STATES TRUSTEE
DAVID KLAUDER., ESQ.
UNITED STATES DEPT OF JUSTICE
844 KING STREET, SUITE 2207
LOCKBOX #35
WILMINGTON, DE 19801

{00459626;v1}

Filed 11/22/10 Page 2 of 2

VIA HAND DELIVERY
COLE SCHOTZ MEISEL FORMAN & LEONARD, PA
NORMAN L PERNICK, ESQ/J KATE STICKLES, ESQ
500 DELAWARE AVENUE, SUITE 1410
WILMINGTON, DE 19801

VIA FIRST CLASS U.S. MAIL
CHADBOURNE & PARKE LLP
ATTN HOWARD SEIFE,ESQ., DAVID M. LEMAY, ESQ,
DOGULAS E. DEUTSCH, ESQ.
30 ROCKEFELLER PLAZA
NEW YORK, NY 10112

VIA FIRST CLASS U.S. MAIL
ZUCKERMAN SPAEDER LLP
GRAEME W. BUSH, ESQ.
JAMES SOTTILE, ESQ.
1800 M STREET, NW, STE 1000
WASHINGTON, DC 20036
